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Order Prepared by the Court

 

IN RE APPLICATION OF : SUPERIOR COURT OF NEW JERSEY
DANIEL PISZCZATOSKI : LAW DIVISION: PASSAIC COUNTY
FOR AN UNRESTRICTED PERMIT

TO CARRY A HANDGUN

Docket No. PAS 10-040

Pursuant to NJSA 2C:58-4 ORDER

This matter having been presented to the Court by Daniel Piszczatoski, and the
Court having considered the application, documentary evidence, all supporting
information, the position of the State; having heard testimony of the applicant and those
with relevant knowledge; for good cause being shown; and for the reasons in the court’s
written opinion on this date;

It is on this 3rd day of November, 2010

ORDERED that under N.J.S.A. 2C:39-6.l, the application to carry a handgun
made by Daniel Piszczatoski is DENIED, and it is

FURTHER ORDERED that a copy of this Order be served on the attorney(s) for

all parties within seven (7) days.

F l L E D
NUV 0 3 2010 L/
HMA- F'P<°» JSC RUDoLPH A. FILKo, J.s.c.

 

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NOT FOR PUBI__,ICATION WITHOUT TI-[E APPROVAL
OF THE COMMITTEE ON PUBLICATION

 

IN RE APPLICATION OF : SUPERIOR COURT OF NEW .]`ERSEY

DANIEL PISZCZATOSKI FOR : PASSAIC COUNTY
AN UNRESTRICTED PERMIT : CRIMINAL DIVISION
TO CARRY A HANDGUN '

DOCKET NO. PAS-10-040

OPINION
Argued: October 22, 2010
Decided: Novernber 3, 2010

 

This case involves an application made by Daniel Piszczatoski (hereinafter
“Piszczatoski”) for an unrestricted permit to carry a handgun in the State of New Jersey.
Piszczatoski’s application was approved by the Wayne Township Police on May 27, 2010 and
oral argument on the matter was heard before this Court on October 22, 2010. A Brief in support
of the application was also submitted Piszczatoski asserted that he should be granted a permit to
carry a handgun because of his position as a law enforcement officer with the United States
Coast Guard and because of threats he received in connection with his position as a photographer
for the F ederal Bureau of lnvestigation. Alternatively, Piszczatoski argues that the New Jersey
justifiable need standard for granting carrying permits is unconstitutional. After considering
arguments made by the applicant and by the State, this Court finds that Piszczatoski’s application
for a permit to carry a handgun is denied because he has failed to establish justifiable need for

such a permit and because the justifiable need Standard is Constitutional.

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I. FACTS

For the past thirty years, Piszczatoski has served our country as a member of the United
States Coast Guard (hereinafter “Coast Guard”). He achieved the rank of Warrant Ot`ficer and
although he plans to retire soon, he currently serves as an Inspector-Officer for the lndividual
Ready Reserve. As an lnspector, Piszczatoski is charged with inspecting Coast Guard units and
because this is not a law enforcement position, he is not required to carry a firearm while doing
these duties. In addition, Piszczatoski is the program coordinator for the New York Imaging
Services Unit of the Federal Bureau of Investigation (hereinafter “FBI”). This position requires
him to coordinate photographers for various FBI functions and investigations as well as fill in on
field assignments when necessary. The FBI does not require Piszczatoski to carry a weapon
while performing these duties because he is a civilian employee and not a law enforcement
agent.

In the course of performing his jobs with the Coast Guard and the FBI, Piszczatoski
claims to have been faced with threats. On October 30, 2009, an alert was issued by the FBI to
all of its employees, indicating that a group of Muslim fundamentalists had threatened to seek
revenge on the FBI by following FBl employees to their homes and banning the employees and
their families As an FBI employee whose name is readily available on the internet, this threat
has caused Piszczatoski to be fearful for the safety of himself and his family. ln addition,
Piszczatoski learned that on January l, 2010 and on January 2, 2009, two members of the Coast
Guard were wrongfully arrested and charged with unlawful firearms possession after uneducated
police officers failed to realize that Coast Guard members may lawfully carry firearms without a
permit. Charges were ultimately dismissed following both arrests, but not before both Coast

Guard members were forced to endure arrests and criminal charges. Piszczatoski is now fearful

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that he will be subjected to such an arrest should he exercise his right to carry a weapon as a
member of the Coast Guard. n
Piszczatoski has applied for an unrestricted permit to carry a handgun in the State of New
Jersey to protect himself and his family from the threat made to FBI employees and so that he
may exercise his right to carry a firearm as a Coast Guard Officer without fear of arrest. The
issue before the Court is Whether these threats create a justifiable need for self protection such
that would allow the Court to grant Piszczatoski’s application for an unrestricted permit to carry
a handgun.
II. ANALYSIS
lt is unlawful in the State of New Jersey for any person to knowingly possess a handgun

without first having obtained a permit to carry the weapon. M§._P_r_ 2C:39-5(b). A permit to
carry a handgun may only be granted if a Superior Court Judge finds that the applicant:

[1] is a person of good character who is not subject to any of the ,

disabilities set forth in section 2C:58-3(c), [2] that he is thoroughly ~

familiar with the safe handling and use of handguns, and [3] that

he has a justifiable need to carry a handgun M 2C:58-4(d)

(emphasis added).
Notwithstanding the provisions of M 2C:39-5(b), one who fulfills an exemption of
MA_ 2C:39-6 may carry a handgun without a permit. The exemptions include “[m]embers of
the Arrned Forces of the United States or the National Guard while actually on duty” as well as
“Federal law enforcement officers.” H__.l§_A__, 2C:39-6(a)(l) & (2). lf a person does not fit
within an exemption, then he may only lawfully carry a handgun if he first obtains a carrying
permit by fulfilling the requirements of N_.LS__A_ 2C:58-4(d). Here, all parties and the Court

concede that Piszczatoski has established his proficiency in the safe handling and use of

handguns as well as his good moral character and lack of statutory disabilities However, the

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Court finds that Piszczatoski has not established the justifiable need necessary to grant him a gun

carrying perrnit.
A. Justiftable Need

Piszczatoski asserts that he has demonstrated justifiable need to carry a handgun because
of the FBI alert and because of his fear of unlawful arrest by uneducated police officers. The
Court finds that neither of these reasons is enough to establish justifiable need.

Justifiable need is a very high standard and requires a showing of specific, direct, and
serious threats to one’s physical safety as opposed to general fears. In 1971, the New Jersey
Supreme Court stated that justifiable need could be demonstrated only by “[o]ne whose life is in
real danger, as evidenced by serious threats or earlier attacks. . .but one whose concern is with the
safety of his property, protectible by other means, clearly may not so qualify.” Siccardi v. State
of New Jersey, 59 high 545, 557 (1971) (finding no justifiable need Where a movie theater
manager carried large sums of money through high crime areas and who had received a few
personal threats). The 1990 New Jersey Supreme Court elaborated that, when analyzing
justifiable need,

the court must determine (1) that the applicant in the course of
performing statutorily-authorized duties, is subject to a substantial
threat of serious bodily harm; and (2) that carrying a handgun is
necessary to reduce the threat of unjustifiable serious bodily harm
to any person. In re Preis, 118 M564, 576-77 (1990) (finding no
justifiable need where a tug boat company wished to have an

armed security guard after the company was threatened when a tug
boat window was shot).

In support of this conservative approach, the Court has pointed to “the Legislature’s policy of

strict gun control” as well as the snowball-like effect that would occur if it were to grant carrying

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permits to large classes of individuals simply by virtue of their membership in a classl. In_re
Borinsky, 363 N.J. Super. 10, 27 (App. Div. 2003).

Here, the FBI alert does not establish justifiable need because although Piszezatoski
showed that one year ago he was one of the recipients of the alert, he was not specifically named
in the threat nor has he provided any additional information which would indicate that the threat
directly related to him. Should the Court find justifiable need to grant Piszczatoski an
unrestricted permit to carry a handgun, then it also would have grounds to grant permits to every
other recipient of the FBI alert, which included every individual employed in a given FBl office,
from janitors to field agents. Given the restrictive nature of New Jersey’s gun control scheme, it
would contravene the Legislature’s strict gun control policy for the Court to find justifiable need
based on a non-specific threat that was made to such a large group one year ago. As such,
despite Piszczatoski’s assertion that he believes the FBI alert is very specific and serious, the
Court finds that this is the type of general threat that does not constitute justifiable need.

In addition, the Court finds that Piszczatoski’s fear of being wrongfully arrested by
uneducated police officers for carrying a handgun pursuant to his qualification2 for the statutory
exemption is a generalized fear and does not rise to the level of justifiable need. Piszczatoski
asserts that because two of his Coast Guard colleagues have been wrongfully arrested in the past,
it is possible that such an arrest could happen to him one day. The Court finds that

Piszczatosl<i’s fear is merely hypothetical because he has not provided any concrete information

 

l lt should be noted that, in 1993, the New Jersey Supreme Court found that an ordinance requiring certain Newark
security officers to carry handguns could support justifiable need for all security guards required to carry under the
statute. In its opinion, the Court acknowledged that although its ruling might allow “many persons in Newark [to
be] able to demonstrate justifiable need for armed protection,” it cautioned that this “regrettable circumstance does
not allow a departure from the standard we announced only recently in Preis.” 515 Assoeiates v. Citv of Newark.
132N_._1.180,196(l993). 4

2 In his Brief, Piszczatoski asserts that he qualifies to carry a handgun without a permit at all times under N.J.S.A.
2_C:36-6(a)(2) because his position with the United States Coast Guard makes him a federal law enforcement officer.
At this time, this Court makes no finding regarding this assertion or whether Piszczatosl<i qualifies for this or any of

the statutory exemptions

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indicating that he is specifically susceptible to wrongful arrest. In addition, should the Court
apply Piszczatoski’s logic, then every person who qualifies under any of the statutory carrying
permit exemptions of B_._l_§_r§_ 2C:39-6 should be granted unrestricted carrying permits because
they, too, could be wrongfully arrested by uneducated police officers. This is a result that clearly
goes against the Legislature’s intent for New Jersey’s gun control scheme. Furthermore,
Piszczatoski’s fear of wrongful arrest can be alleviated by means other than granting him an
unrestricted permit to carry a handgun. For example, at oral argument the State suggested that
Piszczatoski could avoid wrongful arrest by carrying a copy of NM 2C:39-6, the exemption
statute, with him while carrying a handgun. For these reasons, the Court finds that Piszczatoski’s
fear of unlawful arrest is a general fear and does not fulfill the justifiable need standard.

ln summary, the Court finds that neither the FBI alert nor Piszczatoski’s fear of wrongful
arrest provides justifiable need to grant Piszczatoski an unrestricted permit to carry a handgun in
the State of New Jersey3.

B. Constitutionality ofNew Jersey ’s Gun Control Scheme

Piszczatoski next argues that if the Court denies his permit to carry a handgun based on a
failure to show justifiable need, then he should nonetheless be granted a permit because the
justifiable need standard is unconstitutional as it violates the Second and Pourteenth
Amendments of the United States Constitution. The Court finds that Piszezatoski’s argument is
without merit because the justifiable need standard does not violate the Second and Fourteenth
Amendments of the United States Constitution.

The Second Amendment of the United States Constitution guarantees that “[a] well

regulated Militia, being necessary to the security of a free State, the right of the people to keep

 

3 Piszczatoski also argues in his Brief that he has a justifiable need to carry a handgun to protect himself and his
family from criminals and terrorists because New Jersey is “not safe.” The Court also rejects that argument as being

a general fear which would fail under In re Preis, 118 N,_.L 264 (1990).

 

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and bear arms shall not be infringed.” ln 2008, the United States Supreme Court took the first
step towards applying this right to the States through the Fourteenth Amendment when it held
that the Second Amendment protects a person’s right to possess handguns within the home for
the purpose of protection in the District of Columbia. Distn`ct of Columbia v. l-leller, 128 §_Q§=
2783 (2008). The Supreme Court took the next step in 2010 when it applied the same narrow
right to all of the States. McDonald v. Citv of Chicago, 130 _S_.(L 3020, 3050 (2010) (“ln H_Lller_‘,
we held that the Second Amendment protects the right to possess a handgun in the home for the
purpose of self defense.”).

Here, Piszczatoski sets forth an argument that _l_I§llg and McDonald should be interpreted
to invalidate New Jersey’s gun control scheme because the justifiable need standard violates the
Second and Fourteenth Amendments of the United States Constitution. Piszczatoski first states
that the right to carry a handgun outside of one’s horne is protected by the Second Amendment.
Next, Piszczatoski argues that strict scrutiny should be applied to any State law restricting this
right and that New Jersey’s requirement of justifiable need does not pass Constitutional muster
under the strict scrutiny analysis

This court rejects Piszczatoski’s argument that &:_l_l_er and McDonald should be
interpreted to include the unrestricted right to carry a handgun as falling within the scope of the
Second Amendment. In both decisions, the United States Supreme Court focused on an
individual’s right to possess firearms in his home and both opinions made it clear that these
decisions were not meant to guarantee an unrestricted right to bear arms. The Supreme Court

stated in I-Ieller, “[l]ike most rights, the right secured by the Second Amendment is not unlimited.

 

7 . . . [T]he right was not a right to l<eep and carry any weapon whatsoever in any manner

whatsoever for whatever purpose. . . . [N]othing in our opinion should be taken to cast doubt on

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longstanding prohibitions on possession . . . in sensitive places.” M, 554 at 678. Because
the United States Supreme Court has only held that the Second Amendment protects one’s right
to possess a weapon for self protection within his own home, this Court finds that the justifiable
need standard as applied to one’s right to carry a handgun outside of the home does not violate
the Second Amendment’s protection and thus the justifiable need standard is Constitutional.
IV. CONCLUSION

For the foregoing reasons, the Court denies Piszczatoski’s application for an unrestricted

permit to carry a handgun because he has not established justifiable need for such a permit and

because the justifiable need stande is Constitutional. A form of Order is attached ereto.

 

})ATED: November 3, 2010

 

v

RUDOLPH A. FILKO
JUDGE SUPERIOR COURT

